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                                                                              December 2, 2022
 VIA ECF
 United States District Court
 Eastern District of New York
 Attn: Hon. Taryn A. Merkl, U.S.M.J.
 225 Cadman Plaza East, Room 322N
 Brooklyn, NY 11201-1804

 Re:    Star Auto Sales of Bayside, Inc., et al. v. Voynow, Bayard, Whyte and Co., LLP, et al.
        Case No.: 1:18-cv-5775 (ERK) (TAM)
        Defendants’ File No.: 03127-1373
        MLLG File No.: 76-2018                                                       _______

 Dear Judge Merkl:

        Pursuant to the Court’s August 19, 2022 Order, counsel for the parties submit the
 following joint status report.

        The parties have been actively engaged in discovery. Plaintiffs have taken ten (10)
 depositions and anticipate taking an additional 7-10 depositions. Defendants have taken three (3)
 depositions and have noticed and/or served subpoenas for an additional twelve (12) depositions.
 The parties are also attempting to work together to resolve several discovery disputes and are in
 the process of scheduling a meet and confer related to same.

 PLAINTIFFS’ STATEMENT:

          We are in the process of working with Defendants’ counsel to schedule additional
 depositions. However, Plaintiffs contend that scheduling these depositions by January 30, 2022,
 with the upcoming holidays and witnesses and attorney vacation plans has proven difficult.
 Given the complexity of this case, with over 175,000 pages of documents exchanged (and the
 exchange of additional documents anticipated), the extensive travel by the parties between New
 York and Pennsylvania to take depositions given the locations of witnesses and counsel in both
 states, and the numerous depositions that still need to be taken, despite the parties’ diligence in
 actively litigating this case, Plaintiffs believe that additional time is needed to complete
 discovery. Plaintiffs respectfully request a three (3) month extension of the discovery deadlines
 such that fact discovery is extended from January 30, 2023 until May 1, 2023 and expert
 discovery shall be extended from June 30, 2023 until October 2, 2023.

 DEFENDANTS’ STATEMENT:

         Defendants do not believe that the deadlines should be extended given the long history of
 this case, the Court’s prior statement on this issue, and the fact that some of the depositions at
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 issue were previously scheduled and confirmed, only to be cancelled inexplicably by Plaintiffs.
 While defense counsel is cognizant of the difficulties cited above by Plaintiffs with regard to
 completing the remaining depositions, to the extent this Court is willing to extend the deadlines,
 Defendants request that this extension be only for 30 days as to all applicable deadlines.
 Defendants also are amenable to participating in a settlement conference with Your Honor at the
 Court’s convenience.


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